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                         UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                      OCALA DIVISION


   RICK NEIUWENHOVEN,

                        Petitioner,

   v.                                                  Case No: 5:23-cv-34-GAP-PRL

   NICOLE PISANI,

                        Respondent



                            ORDER ON TRANSFER OF CUSTODY

           Having considered the parties’ respective plans at a hearing on February 24,

   2023, at 9:30 AM, it is ORDERED that:

           Respondent Nicole Pisani (“Respondent”) and the members of her family

   are directed to cooperate with the transfer of custody of Adelaide Neiuwenhoven

   (“Minor Child”) to Petitioner Rick Neiuwenhoven (“Petitioner”) for her

   immediate return to Australia. Respondent and her family are prohibited and

   enjoined from taking any action that would jeopardize the timely, orderly, and

   peaceful transfer.

   A.      Shared Custody—February 24-26, 2023

        1. Petitioner shall be entitled to take custody of the Minor Child from 3:00 PM

           – 7:00 PM on Friday, February 24, 2023. Petitioner shall pick up the Minor
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           Child from, and return to, Respondent’s residence at 8021 Penrose Place,

           Wildwood, Florida, 34785. Any third parties, including the Minor Child’s

           grandparents or other relations, are prohibited from being present when

           these exchanges occur.

        2. Petitioner shall be entitled to take custody of the Minor Child from 10:00

           AM – 6:00 PM on Saturday, February 25, 2023. Petitioner shall pick up the

           Minor Child from, and return to, Respondent’s residence at 8021 Penrose

           Place, Wildwood, Florida, 34785. Any third parties, including the Minor

           Child’s grandparents or other relations, are prohibited from being present

           when these exchanges occur.

        3. Petitioner shall be entitled to take custody of the Minor Child from 2:00 PM

           – 6:00 PM on Sunday, February 26, 2023. Petitioner shall pick up the Minor

           Child from, and return to, Respondent’s residence at 8021 Penrose Place,

           Wildwood, Florida, 34785. Any third parties, including the Minor Child’s

           grandparents or other relations, are prohibited from being present when

           these exchanges occur.

   B.      Transfer of Custody—February 27, 2023

        1. The United States Marshal’s Service (“USMS”) is directed to supervise and

           maintain authority over the transfer of custody and enforce compliance

           with this order.




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      2. The Respondent SHALL accompany the Minor Child to the entrance of the

         Golden-Collum Memorial Federal Building and United States Courthouse,

         located at 207 Northwest Second Street, Ocala, Florida, 34475, at 9:00 AM

         on Monday, February 27, 2023, to facilitate the transfer of custody.

      3. Petitioner SHALL be physically present at the Ocala courthouse, identified

         above, at 9:00 AM on Monday, February 27, 2023, and will, under the

         direction and supervision of the USMS, and at such time and exact

         location on the scene of the execution as the USMS directs, consistent with

         the safety of all involved, take possession of the child.

      4. Any third parties, including the Minor Child’s grandparents or other

         relations, are prohibited from being present at the transfer of custody.

      5. USMS is authorized to use reasonable force to execute this Order and to

         use reasonable force against and/or to arrest any person who impedes its

         execution of this order. USMS is further authorized, should Respondent fail

         to appear as ordered, to search Respondent’s residence at 8021 Penrose

         Place, Wildwood, Florida, 34785, and/or Respondent’s parents’ residence at

         2561 Dunkirk Trail, The Villages, Florida, 32162, for the Minor Child to

         facilitate the execution of this Order.

      6. Should Respondent fail to appear for the transfer of custody and should

         USMS be unsuccessful in its attempts to locate the Minor Child at the above




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           addresses, a bench warrant for Respondent’s arrest for violation of this

           Court’s Order will be issued to USMS.

      7. Pursuant to an ore tenus motion during the hearing, the clerk took

           possession of the Minor Child’s passports, which had been held in trust by

           the Law Office of Karen E. Lungarelli during these proceedings per court

           order. This Court will facilitate the transfer of the Minor Child’s passports

           to the Ocala clerk, who is hereby ORDERED to release the Minor Child’s

           passport to Petitioner at the transfer of custody on Monday, February 27,

           2023.



           DONE and ORDERED in Chambers, Orlando, Florida on February 24,

   2023.




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   Copies furnished to:

   Counsel of Record
   Unrepresented Party




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